Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 1 of 7




                    Exhibit E
           Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 2 of 7


Godfrey, Richard C.

From:                   Godfrey, Richard C.
Sent:                   Saturday, December 15, 2012 10:44 AM
To:                     Steve Herman
Cc:                     James Roy; Calvin Fayard; <cfayard@gmail.com>; Brian Barr; Andrew_Karron@aporter.com;
                        Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject:                RE: BP-- SUPP NOTICE TV ADS PAT SHOT


Jim and Steve:



After conferring with my colleagues, I wish to express our appreciation for your willingness to work
with us on this TV ad issue. Your proposal items (1) and (2) including the static language are
acceptable to us as a means of avoiding the burden and expense of requiring Mr. Juneau to retape
the spot, with the understanding that we will have an opportunity to view the static language to
confirm that it is properly placed so that it will be readily visible to the viewer. Thus, please send
what you propose to be the final version of the TV spot, so that we can review it and finalize what I
think we collectively have now agreed to.



Thanks again. Rick




Richard C. Godfrey, P. C.
Kirkland & Ellis LLP
300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT _1312-862-2200 FAX
rgodfrey@kirkland .com



From: Steve Herman [mailto:SHERMAN@hhklawfirm.com]
Sent: Friday, December 14, 2012 6:29PM
To: Godfrey, Richard C.
Cc: James Roy; Calvin Fayard; <cfayard@gmail.com>; Brian Barr; Steve Herman;
Andrew_Karron@aporter.com; Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: Re: BP-- SUPP NOTICE TV ADS PAT SHOT



Thanks

Steve Herman
           Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 3 of 7


On Dec 14, 2012, at 6:13PM, "Godfrey, Richard C." <rgodfrey@kirkland.com> wrote:

   Jim: thanks very much. Let me get together with Jeff, Tres (Andy Karron) and Wendy--but I think
   we are very close or may be there on the specific language--depending of course on how the
   proposed language would actually appear in the TV spot itself. But, we have made very good
   progress, and are close. Thus, I will get back with you hopefully yet this evening.



   Rick




   Richard C. Godfrey, P. C.
   Kirkland & Ellis LLP
   300 North La Salle
   Chicago, IL 60654
   312-862-2391 DIRECT _1312-862-2200 FAX
   rgodfrey@kirkland. com



   From: James Roy [mailto:JIMR@wrightroy.com]
   Sent: Friday, December 14, 2012 4:15PM
   To: Godfrey, Richard C.; 'Calvin Fayard'; <cfayard@gmail.com>
   Cc: Brian Barr; SHERMAN@hhklawfirm.com; Andrew Karron@aporter.com; Bloom, Wendy L.;
   jeftrey.len nard@sn rdenton. com
   Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



   Rick:



  In response to your note below, assuming the supplemental notice TV ad Pat Juneau wrote & shot
  stays as is except 1) to correct web site to be www. DeepwaterHorizonSettlements.com and

  2) the proposed wording we are discussing is contemplated to be in the nature of a static
  "disclaimer' print message at bottom of TV screen for part of the time of the ad, we'd prefer to see
  such a printed/disclaimer/notice to read::



          "Damages must be as a result of Deepwater Horizon Incident as provided in
  Deepwater Horizon Economic and Property Damages Settlement Agreement. "



                                                  2
      Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 4 of 7




This should capture your concern about 1.3.1.2, yet not do violence to our belief that the BEL right
to collect under the settlement is subject to causation test in the Settlement Agreement that are
mechanical, objective, formulaic- not subject to alternate cause analysis, not subjective-state
of mind or otherwise.



Look forward to hearing from you. Let us know if call is needed.



Jim




From: Godfrey, Richard C. [mailto:rgodfrey@kirkland.com]
Sent: Friday, December 14, 2012 3:44PM
To: James Roy; 'Calvin Fayard'; <cfayard@gmail.com>
Cc: Brian Barr; SHERMAN@hhklawfirm.com; Andrew Karron@aporter.com; Bloom, Wendy L.;
jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



Friends: what about one of these two alternatives? Rick



If you had a loss as a result of the Spill, you may qualify under the Settlement.

         If you were damaged as a result of the Spill, you may qualify under the Settlement




Richard C. Godfrey, P. C.
Kirkland & Ellis LLP
                                                3
      Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 5 of 7

300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT _I 312-862-2200 FAX
rgodfrey@kirkland. com



From: James Roy [mailto:JIMR@wrightroy.com]
Sent: Friday, December 14, 2012 1:48 PM
To: 'Calvin Fayard'; <cfayard@gmail.com>
Cc: Brian Barr; SHERMAN@hhklawfirm.com; Godfrey, Richard C.; Andrew Karron@aporter.com;
Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



thanks



From: Calvin Fayard [mailto:Calvin@fayardlaw.com]
Sent: Friday, December 14, 2012 7:44AM
To: <cfayard@gmail.com>
Cc: Brian Barr; James Roy; SHERMAN@hhklawfirm.com; richard.godfrey@kirkland.com;
Andrew Karron@aporter.com; wendy.bloom@kirkland.com; jeffrey.lennard@snrdenton.com
Subject: Re: BP-- SUPP NOTICE TV ADS PAT SHOT



Thank you for sorting this out.

Confidential

Calvin C. Fayard, Jr.

Attorney

(225) 664-4193


On Dec 13, 2012, at 3:40 PM, "cfayard@gmail.com" <cfayard@gmail.com> wrote:

   Hopefully everyone now has the rough cut of Mr. Juneau's ad plus the transcript of what he
   says, and then also the draft tv scripts (nothing filmed) entitled "Freeze Frame" and "Answers."
   To answer Wendy and Rick's questions on length, all of the TV spots were timed to run 30
   seconds. Per our experts this usually means no more than 28.5 seconds of audio. However
   the Juneau ad is fully timed at 30 seconds of audio.

   A draft radio script was attached to the end of the "Freeze frame/Answers" script submitted to
   the Court, and this ad is segmented by region. It is slotted at 60 seconds/58.5 seconds of
   voiceover sound. To date the only ad that has been filmed is the one with Mr. Juneau, and that
                                               4
           Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 6 of 7

        was done on an expedited basis in order to accommodate Mr. Juneau's schedule.

        Please let me know if anyone needs anything else.

        Thanks,
        Caroline


        Confidential
        Caroline Fayard
        Attorney at Law
        504 810 1130



        From: "Brian Barr" <BBarr@levinlaw.com>

        Date: Thu, 13 Dec 2012 14:20:52 -0600

        To: Jim Roy<jimr@wrightroy.com>; <SHERMAN@hhklawfirm.com>; <cfayard@gmail.com>;
        <Calvin@fayardlaw.com>; <richard.godfrey@kirkland.com>; <Andrew Karron@aporter.com>;
        <wendy.bloom@kirkland.com>; <jeffrey.lennard@snrdenton.com>

        Subject: FW: FW: BP-- SUPP NOTICE TV ADS PAT SHOT



       To make things easier for everyone, here is the script as shot.




    ***********************************************************
    IRS Circular 230 Disclosure:
    To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we
    inform you that any tax advice contained in this communication (including any attachments) was
    not intended or written to be used, and cannot be used, by any taxpayer for the purpose of (1)
    avoiding tax-related penalties under the U.S. Internal Revenue Code or (2) promoting, marketing
    or recommending to another party any tax-related matters addressed herein.

   The information contained in this communication is confidential, may be attorney-client privileged,
   may constitute inside information, and is intended only for the use of the addressee. It is the
   property of Kirkland & Ellis LLP or Kirkland & Ellis International LLP. Unauthorized use, disclosure
   or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If
   you have received this communication in error, please notify us immediately by return e-mail or by
   e-mail to postmaster@kirkland.com, and destroy this communication and all copies thereof,
   including all attachments.
   ***********************************************************



***********************************************************

                                                         5
         Case 2:10-md-02179-CJB-DPC Document 11876-6 Filed 11/20/13 Page 7 of 7

IRS Circular 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we inform
you that any tax advice contained in this communication (including any attachments) was not
intended or written to be used, and cannot be used, by any taxpayer for the purpose of (1) avoiding
tax-related penalties under the U.S. Internal Revenu




                                                  6
